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                          EXHIBIT B
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                        Attachment 1
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Marquez, Lindsey

From:                                mail@msgbsvc.com on behalf of Bowman v. Van Art Furniture
                                     <noreply@avfsettlement.com>
Sent:                                Monday, August 6, 2018 9:20 AM
To:                                  Armin, Sabiha
Subject:                             HTML Sample -- Notice of Class Action Settlement - Michael Bowman v. Art Van
                                     Furniture, LLC.



CAUTION: This email originated from outside of Epiq. Do not click links or open attachments unless you recognize the sender and
know the content is safe.


Claim ID: URM8OBSTQ

                                   NOTICE OF CLASS ACTION SETTLEMENT

        Michael Bowman v. Art Van Furniture, Inc., Case No. 2:17-cv-11630-NGE-RSW (E.D. Michigan)


    IF YOU RECEIVED A PRERECORDED PHONE CALL FROM ART VAN FURNITURE, YOU
           COULD RECEIVE A PAYMENT FROM A CLASS ACTION SETTLEMENT.


                   For complete information, visit www.avfsettlement.com or call 855-331-3602.
                          Para ver este aviso en español, visite www.avfsettlement.com.

     A Federal Court authorized this notice. You are not being sued. This is not a solicitation from a lawyer.

A Settlement has been reached in a class action lawsuit against Art Van Furniture, LLC (“Art Van”), Michael
Bowman v. Art Van Furniture, Inc., Case No. 2:17-cv-11630-NGE-RSW, pending in the U.S. District Court for
the Eastern District of Michigan. The Court has preliminarily approved the Settlement, which could impact your
legal rights, whether you act or not. This is only a summary of the Full Notice. Visit www.avfsettlement.com
to read the Full Notice, submit a Claim Form, and view important court dates and documents.

Nature of the Action. The lawsuit alleges that Art Van made prerecorded phone calls to telephones in violation
of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. The Settlement Class Representatives
claim that Art Van made phone calls to telephone users who never provided consent. Art Van denies the
allegations, denies that it violated any laws, and asserts several defenses. The Court has not determined who is
right. Rather, the Parties have agreed to settle the lawsuit to avoid the uncertainties and expenses associated
with ongoing litigation.

Why Am I Receiving This Email? Our records show that you may be a member of the “Settlement Class,”
which includes all individuals and entities who were called by or on behalf of Art Van Furniture through the use
of prerecorded voice technology between May 23, 2013 and July 23, 2018.

What Can I Get Out of the Settlement? If you’re eligible and the Court approves the Settlement, you could
receive a cash payment. Art Van has agreed to fund a Settlement Fund of $5,875,000 U.S. dollars. The cost to
send notice to the class and administer the Settlement, as well as any award of reasonable attorneys’ fees and
expenses (no more than one-third of the Settlement Fund) and any Incentive Award of no more than $5,000 to
                                                                1
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the Class Representative, will come out of this amount. The amount remaining after deducting these amounts
(the “Net Settlement Fund”) will be used to pay the claims of eligible Class Members who submit valid claims.
Class members who file valid claims will be eligible to receive One (1) Unit from the Net Settlement Fund. If
any money remains after these disbursements, it will be donated to a cy pres recipient approved by the Court.

What Are My Options? If you are a member of the Class as described above, your legal rights are affected and
you have several options: (1) Submit a Claim: You may submit a Claim Form at www.avfsettlement.com or
download the form and submit it by mail, either way by no later than September 26, 2018. Include the Claim
ID from the top of this email with your claim. The information you provide to the Settlement Administrator will
be used only to administer the Settlement. (2) Do Nothing: You will not receive a payment but you will be
bound by the Court’s Orders and Judgment and give up your right to sue Art Van and certain other persons and
entities about the legal claims resolved by the Settlement. (3) Exclude Yourself: Keep the right to sue Art Van
about the legal claims resolved by the Settlement, but you will not receive payment from this Settlement. To
request exclusion, you must mail a signed statement that says “I wish to be excluded from the Settlement in
Michael Bowman v. Art Van Furniture, Inc., Case No. 2:17-cv-11630-NGE-RSW” to the Settlement
Administrator, postmarked by September 26, 2018. Specific information is available
at www.avfsettlement.com. (4) Object/Request to Appear: Write to the Court and say why you don’t like the
Settlement and/or request permission to speak at the Final Approval Hearing by September 26, 2018. The
Court will hold a Final Approval Hearing on October 24, 2018 before the Honorable Nancy G. Edmunds in
Courtroom 811, Theodore Levin U.S. Courthouse at 231 W. Lafayette Blvd., Detroit, Michigan 48226. The
Court will consider whether the proposed Settlement is fair, reasonable, and adequate and whether to approve
the attorneys’ fees and costs to Class Counsel and an Incentive Award to the Class Representative, and consider
objections, if any. The motion for attorneys’ fees and costs will be posted on the website after it is filed.

Who Represents Me? The Court has appointed Steven Woodrow, Patrick H. Peluso, and Taylor Smith of
Woodrow & Peluso, LLC and Stefan Coleman of the Law Offices of Stefan Coleman, PLLC to be the attorneys
representing the Settlement Class. The attorneys are called “Class Counsel.” You may hire your own lawyer at
your own expense.

When Will the Court Approve the Settlement? The Court will hold a Final Approval Hearing on October
24, 2018 at 1:00 P.M. at the Theodore Levin U.S. Courthouse at 231 W. Lafayette Blvd., Room 811, Detroit,
Michigan 48226. The Court will hear objections, determine if the Settlement is fair, and consider Class
Counsel’s request for fees and expenses and a service award to each of the Class Representatives. These
requests will be posted on www.avfsettlement.com.

How Do I Get More Information? For more information about the proposed Settlement and a copy of the full
Notice and Claim Form, go to www.avfsettlement.com, contact the Settlement Administrator at 855-331-
3602 or

Michael Bowman v. Art Van Furniture Settlement Administrator
PO Box 3410
Portland, OR 97208-3410

or call Class Counsel at 720-213-0676.




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    Claim ID: 2W3A66CW3W224W7
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                         Attachment 4
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                  Michael Bowman v. Art Van Furniture, Inc.
                      Case No. 2:17-cv-11630-NGE-RSW
                            Request for Exclusion

                                Name
                            1   PAUL LARIVIERE
                            2   GERALD DAVIS
                            3   PHILLIP BOST
                            4   LISA LANNING
                            5   CAROLYN HARRISON
                            6   JULIE PLUGER
                            7   WAYNE KOWALSKI
                            8   JEFFREY ENGLISH
                            9   JILL MELTON
                           10   JAMES SKALNY
                           11   MELODY WOLLET
                           12   KATHLEEN BETKE
                           13   MELANIE PHIPPS
                           14   TOM CLOCK III
                           15   SUZANNE DEMARS
                           16   CAROLYN CHAVEZ
                           17   JANET OBENAUF
                           18   JEAN MARY DUPLISSIS
                           19   SILVIA ROJAS-ANADON
                           20   DUANE EDNA BAILEY
                           21   CLAIRE ANDRUS
                           22   MARY FRONCZAK
                           23   STEVEN SMITH
                           24   CAROL APRAHAMIAN
                           25   MARY ZACHOS
                           26   KAREN CALLAN
                           27   CHARLES KALBFELL
                           28   CAROLYN NIELSON
                           29   LEONARDO PERSICONE
                           30   SUSAN REINTGES
                           31   STEVEN GREGORY
                           32   JERRY LOVEJOY
                           33   JEAN WASSERMAN
                           34   SUE WHITE
                           35   ARLENE VECSEI
                           36   BEVERLY CARRIEL


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                                Name
                           37   MARY ANN HANLEY
                           38   AMY MAAT
                           39   KAREN WOLANIN
                           40   MARGARET WADLIN
                           41   VIRGINIA ESSER
                           42   CYNTHIA ACOSTA
                           43   HAZEL STEPHENSON
                           44   TRUDIE DEAN
                           45   BONNIE LAVELLE
                           46   ELIZABETH MAWHINNEY
                           47   JAMIE DAUCH
                           48   KIMBERLY BOYD
                           49   LOUISE BUDNICK
                           50   ANITRA CAPE
                           51   GREG ISAAC
                           52   THERESA BROWN
                                MARTHA
                           53   SHINGLENDECKER
                           54   DEBRA REAGAN
                           55   MARC LOPER
                           56   LINDA RATHBUN
                           57   STEPHEN KANISKI
                           58   DOROTHY OPPENHUISEN
                           59   BETTY HALL
                           60   RUTH HAESSLER
                           61   PAULINE BANASZEWSKI
                           62   RICHARD ALLPORT
                           63   LARRY SPRAUVE
                           64   JUDY GASPAR
                           65   FRANCES ANDERSON
                           66   KENNETH HOLCOMB
                           67   CAROLYN DIXON
                           68   NANCY OBERST
                           69   CONNIE BILA
                           70   CHERYL HARPER
                           71   ROBERT FLETCHER
                           72   KALA SNYDER
                           73   NANCIE ARMSTRONG
                           74   JANICE WYNNE
                           75   MARIANNE ABBOTT



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                                Name
                           76   DAVID DYBALSKI
                           77   SYLVIA KOSINSKI
                           78   CINDY KASBAUER
                           79   ANTOINETTE KLIMOWICZ
                           80   CAROLYN BOARD
                           81   QUANG TRAN
                           82   FRANCINE CAMPBELL
                           83   LAURA WELCH
                           84   FRANK SOSNOWSKI
                           85   ROGER CREMONT
                           86   NICHOLAS BENDA
                           87   SHARON STREB
                           88   DANIEL HICKEY
                           89   HELEN CEBULA
                           90   TERRI ALEXANDER
                           91   ELAINE GUIDI
                           92   JOYCE PERRY
                           93   MAURICE VERMEULEN
                           94   CHERYL SCHULDT
                           95   MARY ANN ALSIP
                           96   SHARON BRUCE
                           97   JUANITA BACON
                           98   HELEN LATIA
                           99   HARRY/MARY VEITH
                          100   CHRISTINE GABRIEL
                          101   ROBERT JONES
                          102   PRISCILLA KELLOGG
                          103   BRUCE JONES
                          104   SYBILLA KASE
                          105   SANDRA SMITH
                          106   DAVID FORD
                          107   HELEN GIBSON
                          108   JUDY KLIMCZAK
                          109   PATTI JEAN COOK
                          110   BARRY/LISA POTTER
                          111   JANICE BROOKS
                          112   JANET LAVALLEY
                          113   WILLARD SWITTER
                          114   MELVIN SUTTON
                          115   ELOISE OSBORN



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                                Name
                          116   DELORES HEIN
                          117   SHARON DEAN
                          118   RUTH BLEEKER
                          119   GORDON OBENAUF
                          120   AADIL ASMARO
                          121   HANEFREY MCFALLS
                          122   MOHAMMAD HAFIZ
                          123   ELIZABETH MAVCHOWICZ
                          124   EMILY WEIRICH
                          125   DAVID COLLEGROVE
                          126   TODD RIGGS
                          127   JERRY TESSMAN
                          128   LANA DOOLIN
                          129   CHARLENE LAMBARD
                          130   CAROL SANCTORUM
                          131   BETTY GAWENDA
                          132   GERALD WYETH
                          133   KAREN SESSION
                          134   MARTHA STUBBLEFIELD
                          135   JEANETTE ALLEN
                          136   MARSHALL LIPPSON
                          137   FRANK DE FRANCESCHI
                          138   JILL WEBB
                          139   MARILYN WARNER
                          140   RICKY SUMMERS
                          141   JANNES JOHNSON
                          142   NICHOLAS FLUCUS
                          143   JOE ANN BYERS
                          144   SUSAN/LARRY MATTOX
                          145   JACOBA SOTELO
                          146   SAM BLAGA
                          147   MAURA SEDGEMAN
                          148   IRENE PROSSER
                          149   LAURA EDWARDS
                          150   BRIAN TILLMAN
                          151   WINDELL BARTRAM
                          152   JOANN PIORKOWSKI
                          153   HENRY WALTERS
                          154   GEORGE MCCANN
                          155   MARY VANAUKEN



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                                Name
                          156   DORIS HUBBARD
                          157   JOAN OBYRNE
                          158   RONALD SEMAK
                          159   BARBARA WILSON
                          160   KATHERINE WILSHER
                          161   BRUCE FLORENCE
                          162   SAMUEL HAM
                          163   LINDA BERCH
                          164   SALLY FRAZHO
                          165   ELAINE HOSSLER
                          166   MARY FRITSCHER
                          167   ANGELA WISNIEWSKI
                          168   JOHN KUCZBORSKI
                          169   DORA MOSQUERA
                          170   ALENE WINTON
                          171   JIM-HOLLY PORTER
                          172   VARD THOMPSON
                          173   SHIRLEY DEHN
                          174   CAROL PLUMMER
                          175   WILLIAM BAGNASCO
                          176   ELLEN CRAWFORD
                          177   DENNIS MORSE
                          178   BEVERLY GARDINER
                          179   AL SADEK MAKKI
                          180   DOLORES BARNES
                          181   JERRY SHERMAN
                          182   STEVE DIXON
                          183   THEODORE ASKEW
                          184   ABDEL ELHALI
                          185   BERTHA ERICKSON
                          186   VICTORIA ELKINS
                          187   DOUGLAS COOK
                          188   JUNE RICE
                          189   GERALD FRANCIS FOY
                          190   LINDA ROTACH
                          191   SHARON HEIMAN
                          192   CLAUDIA POLMANTEER
                          193   ANITA RUSSELL
                          194   JOYCE BUSHA
                          195   MARY FITZGERALD



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                                Name
                          196   CHERYL CARRIER
                          197   SUE SCHMIEDICKE
                          198   GARY SERRELL
                          199   JANE SMITH
                          200   MARY CRAIN
                          201   LINDA CHATEL
                          202   WILLIAM H ALLEN
                          203   MARY WEBB
                          204   ROSANNE PRITCHETT
                          205   WILBUR LACEY
                          206   DOROTHY DEAN
                          207   DAN NOEL
                                BEREAN BAPTISTE
                          208   CHURCH
                          209   INEZ BAYLE
                          210   MOHAMMED ALI
                          211   JOANN PENDO
                          212   SANDRA ERICKSON
                          213   CAROLINE JOHNSON
                          214   DIANA HOULIHAN
                          215   JUANITA THOMAS
                          216   ROSE NICKSON
                          217   DELMER PRIEST
                          218   JANICE FLINTON
                          219   ANTOINETTE A TOMCZAK
                          220   CECILIA SAYLOR
                                PERUMAL
                          221   BOMMAIAHASAMY
                          222   BONNIE SCHRECK
                          223   WILLIAM BODLEY
                          224   THOMAS HARRIS
                          225   KENT RINTALA
                          226   SHARON WARNER
                          227   JOANNE SARTOR
                                CHRISTINE SHEPARD
                          228   RELIABLE CAR
                          229   LENUS PATTERSON
                          230   LINDA GROSS
                          231   MADELEINE FITCH
                          232   EDITH HILDERBRANDT
                          233   SARAH HASTINGS


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                                Name
                          234   DANIEL GRIFFIN
                          235   MARY JOHNS
                          236   CHARLOTTE KINSEY
                          237   PADMASINI PERUMAL
                          238   CARLOS VIVEROS
                          239   RUTH HYATT
                          240   LINDA PERAINO
                          241   HUONG THE KHONG
                          242   JUDY LOVEJOY
                          243   CATHERINE STANKO
                          244   BARB HALLER
                          245   HARRY ANKENBAUER
                          246   ROBERT DUNKLEE
                          247   CORINNE WEBB
                          248   EVERETT KINGSBURY
                          249   PAT DESIDERI
                          250   JOETTA PENDLEY
                          251   CHERYL KELLER
                          252   GEORGETTE OLSON
                          253   LORRAINE FOURROUX
                          254   DAVID HILTON
                          255   DIANE MURPHY
                          256   BETH TUCKER
                                DONALD FRANCES
                          257   DELOOF
                          258   CAROL WROBEL
                          259   BEATRICE COLES
                          260   RON VECSEI
                          261   DICK LINDBERG
                          262   LINDA WRIGHT
                          263   MARILYNN WOOD
                          264   KAREN RICHARDS
                          265   PHYLLIS KAVEN
                          266   VIVIAN PLUMMER
                          267   CALREAN RANKIN
                          268   JILL GROBBEL
                          269   TROY FOX
                          270   MARSHA JENEROU
                          271   JACQUELINE WIXSON
                          272   JACKIE MOODY



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                                Name
                          273   DIANNE SIVAK
                          274   CINDY FITZSIMMONS
                          275   LLOYD SMALE
                          276   SHEILA BONNER
                          277   JIM/JOANN DANN
                          278   GENEVIEW SIYDYM
                          279   COLLEEN CAREY
                          280   LAURA CASS
                          281   MOHAMMAD AMIN
                          282   MARLENE WHEELER
                          283   JEAN HAFNER
                          284   EDWARD PEITSCH
                          285   JIMMY KRUEGER
                          286   HARRIET NEIL
                          287   RICHARD FALK
                          288   JOSEPHINE MARR
                          289   ANNE SHEERAN
                          290   SHIRLEY SIMONS
                          291   KAREN BEATTIE
                          292   LINDA COOK
                          293   RICHARD EVANS
                          294   CHERYL SULLIVAN
                          295   SALLY GOHEEN
                          296   VERLIE BELL
                          297   FLOYD HAWES
                          298   BEVERLY M NIELSEN
                          299   GLENDA GRIFFIN
                          300   RITA NETTLETON
                          301   MARSHA GRIFFIN
                          302   TERRY THOMPSON
                          303   DENNIS COX
                          304   RETA BOST
                          305   BRENDA ELLIS
                          306   WANDA ROSE GOUGEON
                          307   MARIE KILLINBACK
                          308   DAVID PHILLIPS
                          309   LINDA REMICK
                          310   IRENE NETTLETON
                          311   IDA CLARK
                          312   RUSSEL STOWELL



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                                Name
                          313   DOROTHY BASHORE
                          314   LORETTA HOY
                          315   KAREN ELMY
                          316   JUDY LECOMPTE
                          317   ARLIE BLACK
                          318   WILLIAM DROOMER
                          319   JULIA JODOIN
                          320   DOROTHY WITTER
                          321   FAITH M SHAW
                          322   JANELLE BRADLEY
                          323   DONNA MIELK
                          324   WARREN HOEFT
                          325   JOEL DAVIDSON
                          326   CLAUDIA TENNY
                          327   BRIAN HERRON
                          328   CORY COOPER
                          329   BRIAN MONTGOMERY
                          330   MARY LOU APPLEBEE
                          331   JUDITH BENOIT
                          332   DONALD PHILLIPS
                          333   KEN ROESKE
                          334   LINDEEN SMITH
                          335   CAROL MAYKOWSKI
                          336   ALLISON KAPALA
                          337   MILES WEAVER
                          338   MARCIA MAYKOWSKI
                          339   LEONARD MULARSKI
                          340   RANDALL WILLIAMS
                          341   NASIA HERNANDEZ
                          342   BEVERLY MYTKO
                          343   ED SOBOTA
                          344   WAYNE TAYLOR
                          345   MARCIA POLANSKI
                          346   BEVERLY MEOLA
                          347   ALLA CLAEYS
                          348   DIANE WYFFELS




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